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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


  AMERICA FIRST LEGAL FOUNDATION,

                      Plaintiff,                         Civil Action No.: 23-2070

                v.

  MERRICK GARLAND, Attorney General of
  the United States,
  in his official capacity, 950 Pennsylvania
  Ave., NW
  Washington, DC, 20530,

  DEPARTMENT OF JUSTICE,
  950 Pennsylvania Ave., NW
  Washington, DC 20530,


                      Defendants.


      COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

      1.     The Foreign Agents Registration Act, Pub. L. No. 75–583, as amended,

requires certain agents of foreign principals who are engaged in political or other

specified activities to make periodic public disclosure of their agency relationship and

of the activities, receipts, and disbursements in support of thereof.

      2.     The Act is the paradigmatic public disclosure statute, enacted for the

express purpose of ensuring citizens are “informed as to the identities and activities

of [foreign agents]” so that they will “be better able to appraise them and the purposes

for which they act.” H.R. Rep. No. 89-1470, at 2 (1966), https://tinyurl.com/5ca6r4r6.




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      3.     The Act protects the public’s right to know what foreign governments

and corporations are up to, protecting our national defense, economic security, and

Constitutional system. Among other things, foreign agent registration provides a

window into the foreign business relationships and entanglements of high-ranking

political officials and their family members, and a critical path for exposing influence

peddling.

      4.     No later than November 2019, when it obtained possession of and

verified the authenticity of Hunter Biden’s laptop computer, the Department of

Justice had actual knowledge that Hunter Biden has been a statutorily defined

foreign agent of (at a minimum) Ukrainian and Chinese principals and therefore was

legally obligated to register as such. However, the Department has neither required

Mr. Biden to register nor undertaken a waiver rulemaking.

      5.     America First Legal Foundation is a national nonprofit legal foundation

that advocates for “America First” policies to protect our sovereignty, economic

security, and Constitutional order. To that end, it gathers official information,

analyzing and disseminating it through reports, press releases, media, and

communications with congressional oversight committees. See, e.g., AMERICA FIRST

LEGAL FOUNDATION, America First Legal Releases More of Biden’s Vice Presidential

Records Revealing Influence Peddling and Corruption Between the White House and

Hunter’s     Private     Foreign     Business      Dealings      (May      3,    2023),

https://tinyurl.com/5d3bs938; Letter from Reed D. Rubinstein, Senior Couns. and Dir.

of Oversight and Investigations, to Matthew G. Olsen, Assistant Att’y Gen. for Nat’l


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Sec., U.S. Dep’t of Just. (Mar. 15, 2023), https://tinyurl.com/mr26u53b (copying

members of Congress). Foreign agent registration information helps America First

Legal, and those with whom it communicates, evaluate the policies and public opinion

messaging of the Biden Administration, its allies, and foreign economic and political

actors.

         6.   On March 3, 2023, America First Legal asked the defendants to comply

with the Act by requiring Mr. Biden’s registration. If the Department of Justice

becomes aware that a certain individual is required to register under the Foreign

Agents Registration Act, but that such registration has not occurred, then the

Department has a nondiscretionary duty either to require it or to undertake a waiver

rulemaking. Nevertheless, to date, the defendants have refused to do either of these

things.

         7.   The defendants’ refusal to require Mr. Biden to register as a foreign

agent denies America First Legal information which must be publicly disclosed

pursuant to the Foreign Agents Registration Act, and for which it has a statutory

right.

         8.   Furthermore, this information is directly related both to America First

Legal’s informed participation in the political process with respect to its advocacy of

America First policies aimed at protecting our nation’s sovereignty, borders, economic

security, and Constitution; and to its core public education mission of disclosing

relevant information regarding the operation of the government and the integrity of

public officials.


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        9.    The defendants have therefore caused America First Legal the very

harm that Congress sought to prevent by requiring disclosure in the first place,

inflicting injury in fact. Campaign Legal Ctr. v. Fed. Election Comm’n, 31 F.4th 781,

789 (D.C. Cir. 2022); Elec. Priv. Info. Ctr. V. Presidential Advisory Comm’n on

Election Integrity, 878 F.3d 371, 378 (D.C. Cir. 2017).

        10.   Accordingly, America First Legal seeks relief under the Administrative

Procedure Act, 5 U.S.C. § 706.

                             Jurisdiction and Venue

        11.   This Court has jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702.

        12.   Venue is proper under 28 U.S.C. §§ 1391(b)(1) and 1391(b)(2).

                                       Parties

        13.   The plaintiff America First Legal Foundation is a national, nonprofit

legal foundation working to promote the rule of law, prevent executive overreach,

protect due process and equal protection, and educate Americans about the individual

rights guaranteed under the Constitution and laws of the United States. America

First   Legal’s   mission   includes   promoting    government    transparency    and

accountability by gathering official information, analyzing it, and disseminating it

through reports, press releases, media, and communications with congressional

oversight committees, all to educate the public and to keep government officials

accountable for their duty to faithfully execute, protect, and defend the Constitution

and laws of the United States. America First Legal’s email list contains over 78,000

unique addresses, its Twitter page has 151,000 followers, the Twitter page of its


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Founder and President has over 482,000 followers, its Facebook page has 139,000

followers, and it has approximately 31,900 followers on GETTR.

      14.    The defendant Department of Justice is a federal agency.

      15.    The defendant Merrick Garland is the Attorney General of the United

States. He is sued in his official capacity.

                                     Background

                         The Foreign Agents Registration Act

      16.    The Foreign Agents Registration Act, Pub. L. 75–583, as amended

(codified at 22 U.S.C. § 611 et seq.) protects the “national defense, internal security,

and foreign relations of the United States” by requiring public disclosure of the

persons engaging in influence and advocacy activities for or on behalf of foreign

governments, foreign political parties, and other foreign principals “so that the

Government and the people of the United States may be informed of the identity of

such persons and may appraise their statements and actions in the light of their

associations and activities.” See Meese v. Keene, 481 U.S. 465, 469 (1987) (quoting 56

Stat. 248, 77 Cong. Ch. 263, (Apr. 29, 1942) (cleaned up)); JACOB R. STRAUS, CONG.

RSCH. SERV., R46435, FOREIGN AGENTS REGISTRATION ACT (FARA): BACKGROUND AND

ISSUES FOR CONGRESS at 7–9 (2020), https://tinyurl.com/57xbzue3.

      17.    The Act was amended in the 89th Congress to shift its focus from

propaganda to advocacy activities. During the Senate debate, Sen. James Fulbright

explained why:

      The basic purpose of the bill is to update the Foreign Agents Registration Act
      to reflect the changes in the nature of the U.S. role in world affairs today. A

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       quarter of a century ago, the original targets of this act were the subversive
       agent and propagandist. But as our interests throughout the world have
       multiplied, the efforts of foreign interests to influence American foreign and
       domestic politics have become correspondingly greater and more subtle. The
       place of the old foreign agent has been taken by the professional lobbyists and
       public opinion manipulators whose object is not [to] subvert the Government
       but to influence its policies to the satisfaction of his client. The trench coat has
       been replaced by the gray flannel suit.

111 CONG. REC. 6984 (1965) (emphasis added), https://tinyurl.com/4acjkkwf.

       18.   Currently, the Act defines a “foreign principal” as a “corporation” that is

“organized under the laws of or having its principal place of business in a foreign

country.” 22 U.S.C. § 611(b).

       19.   The Act further defines an “agent of a foreign principal” as “any person

who acts as an agent, representative, employee, or servant, or any person who acts in

any other capacity at the order, request, or under the direction or control, of a foreign

principal or of a person any of whose activities are directly or indirectly supervised,

directed, controlled, financed, or subsidized in whole or in major part by a foreign

principal.” 22 U.S.C. § 611(c)(1). It also includes “any person who agrees, consents,

assumes or purports to act as, or who is or holds himself out to be, whether or not

pursuant to contractual relationship, an agent of a foreign principal.” 22 U.S.C. §

611(c)(2).

       20.   The Act further defines a “public-relations counsel” as “any person who

engages directly or indirectly in informing, advising, or in any way representing a

principal in any public relations matter pertaining to political or public interests,

policies, or relations of such principal.” 22 U.S.C. § 611(g).




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       21.    The Act requires the agent of a foreign principal to register if he or she

acts within the United States “under the direction or control, of a foreign principal”

and, “for or in the interests of” that foreign principal, “engages ... in political activities”;

“acts ... as a public relations counsel, publicity agent, information-service employee or

political consultant”; “solicits, collects, disburses, or dispenses contributions, loans,

money, or other things of value”; or “represents the interests of such foreign principal

before any agency or official of the Government of the United States.” 22 U.S.C. §

611(c)(1)(i)–(iv).

       22.    The Act further requires the registration statement to contain the

“degree of specificity necessary to permit meaningful public evaluation of each of the

significant steps taken by a registrant to achieve the purposes of the agency relation.”

28 C.F.R. § 5.210; see also 22 U.S.C. § 612.

       23.    The Department of Justice’s regulations require registrants to “keep and

preserve”    eight    different    categories       of   “books   and   records,”    including

“communications to and from all foreign principals and all other persons, relating to

the registrant’s activities on behalf of, or in the interest of any of his foreign

principals”; communications “relating to political activity on the part of any of the

registrant’s foreign principals”; and “bookkeeping and other financial records.” 28

C.F.R. § 5.500(a). Such records must be kept “readily accessible for inspection” by the

Department. 28 C.F.R. § 5.500(b).

       24.    The Act further requires that “[r]egistration statements, informational

materials, Dissemination Reports, and copies of political propaganda filed under


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section 4(a) of the Act, shall be available for public examination at the Registration

Unit on official business days, during the posted hours of operation.” 28 C.F.R. §

5.600; see also 22 U.S.C. § 616(a).

      25.    The Act further requires registration statements “to be filed with the

Attorney General.” 22 U.S.C. § 611(k). It allows the Attorney General “by regulation”

to provide for an exemption from registration. 22 U.S.C. § 612(f). However, neither

the publication of registration statements nor the rulemaking required for waivers is

committed to the Attorney General’s discretion.

      26.    On its website, the Department of Justice invites members of the public

to “Report a Violation” of the Act. See U.S. DEP’T OF JUSTICE, FARA Enforcement

(updated Mar. 15, 2023), https://www.justice.gov/nsd-fara/fara-enforcement.

                                      Hunter Biden

      27.    No later than November 2019, when it gained control over and verified

the authenticity of Mr. Biden’s laptop computer, the Department of Justice had actual

knowledge that Mr. Biden was acting as a foreign agent and therefore required to

register under the Foreign Agents Registration Act.

                                        Ukraine

      28.    Until its dissolution on February 16, 2023, Burisma Holdings Limited

was a limited company registered in Cyprus and principally doing business in

Ukraine. Business Register, Cyprus Department of Registrar of Companies and

Intellectual Property (last updated July 13, 2023), https://tinyurl.com/3mux6ey2. At

all times relevant, Burisma was thus a “foreign principal.”


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         29.   Then-Vice President Biden’s son, Hunter Biden, while a director of

Ukrainian gas company Burisma, and through his lobbying firm Rosemont Seneca,

was personally involved in at least one phone call between the Vice President and

then-Ukrainian President Poroshenko. E-mail from John S. Flynn, Senior Advisor to

VPOTUS, to Robert L. Peters [sic], VPOTUS (May 26, 2016, 22:08:00 -0400) (attached

as Exhibit 1) (also available at 2023-0022-F: Email Messages To and/or From Vice

President Biden and Hunter Biden related to Burisma and Ukraine, NAT’L ARCHIVES

AND   RECS. ADMIN., https://tinyurl.com/48xsh8ar); see also Letter from Paul D.

Kamenar, Esq., Couns. for Nat’l Legal and Pol’y Ctr., to John C. Demmers, Assistant

Att’y Gen. for Nat’l Sec. (Oct. 31, 2020), tinyurl.com/h7xja53a (last visited July 17,

2023).

         30.   In a joint investigative report, the United States Senate Committee on

Homeland Security and Government Affairs and the Committee on Finance found

Hunter Biden’s appointment to Burisma’s board was “problematic and did interfere

in the efficient execution of [U.S.] policy with respect to Ukraine.” Majority Staff

Report, S. Comm. on Homeland Sec. and Gov’tal Affs. & S. Comm. on Fin., 116TH

CONG., Hunter Biden, Burisma, and Corruption: The Impact on U.S. Government

Policy and Related Concerns at 4 (Sep. 23. 2020), https://tinyurl.com/24ybhknc (last

visited July 17, 2023).

         31.   For example, records obtained by America First Legal from the National

Archives and Records Administration reveal that the Obama administration and the

Office of Vice President Biden received substantial press inquiries concerning Hunter


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Biden’s appointment at Burisma. See America First Legal, Biden NARA VP Foreign

Business Dealings, NARA Production 1 Hot Docs, https://tinyurl.com/4tsnjjwm (last

visited July 18, 2023).

      32.    On May 13, 2014, in replying to a press inquiry forwarded from then-

Vice President Biden’s press secretary (Kendra Barkoff), Hunter Biden advised the

Office of Vice President about how to respond:


                    Interesting. Burisma is completely independent of
                    Ukrainian government with an independent board of
                    directors. NZ served as Minister of Ecology and resigned in
                    2010. I joined the board as legal adviser and Burisma also
                    engaged the law firm I am of counsel to Boies Schiller
                    Flexner on matters pertaining to corporate governance,
                    transparency and expansion. Alana Apter former head of
                    Morgan Stanley Europe is chairman of the board.

                    RHB

Id. at 4 (emphasis added).

      33.    In another e-mail exchange from that same day, Kendra Barkoff wrote,

“[t]hanks for talking to me. let me know who I should refer folks to,” and Hunter

Biden responded with the following advice about how the Office of the Vice President

should respond to inquiries:

                    Ok-
                    What exactly are they asking? For the time being I’d just
                    refer them to my office. FYI I joined the board of Burisma
                    Holdings Ltd. (Burisma.com) an independent/ private
                    natural gas producer in Ukraine along with the former
                    president of Poland. I think the press release is on their
                    website.

                    RHB



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Id. at 13.

       34.      In the afternoon of May 13, 2014, Barkoff sent an e-mail to Hunter Biden

providing to him the text of the statement the Office of the Vice President was using

to respond to inquiries about Hunter Biden’s Burisma involvement:

                       “Hunter Biden is a private citizen and a lawyer. The Vice
                       President does not endorse any particular company and
                       has no involvement with this company. For any additional
                       questions, I refer you to Hunter’s office.”

Id. at 9.

       35.      Apparently, Hunter Biden had ongoing discussions about the matter

with the Office of the Vice President that continued for nearly a month and a half.

On June 26, 2014, Hunter Biden wrote to Kendra Barkoff about the need to cancel a

planned call:

                       K-
                       I am really sorry but I have to cancel call today.
                       RHB

Id.

       36.      Burisma is a “foreign principal” under 22 U.S.C. § 611(b).

       37.      At all times relevant, the defendants knew or should have known that

Hunter Biden was obligated to register under the Foreign Agent Registration Act.

For example:

             a. As a corporate officer, Mr. Biden acted “at the order, request, or under

                the direction or control, of a foreign principal” under 22 U.S.C. §

                611(c)(1)(i).



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            b. In advising the Office of the Vice President how to respond to press

               inquiries about his appointment, Mr. Biden “represent[ed] the interests

               of such foreign principal before any agency or official of the Government

               of the United States” under 22 U.S.C. § 611(c)(1)(iv).

            c. Also, Mr. Biden represented Burisma in a public relations matter

               relating to the public interests and relations of Burisma by advising the

               Office of the Vice President about responding to press inquiries

               concerning his appointment at Burisma under 22 U.S.C. § 611(g).


                             The People’s Republic of China

      38.      China Energy Fund Committee (“CEFC”) and CEFC Energy Company

Limited (“CEFC China”) were, at all times relevant, “foreign principals.” See Sealed

Indictment, ECF No. 2, United States v. Luft, Case No. 22-CRIM-597 (S.D.N.Y Nov.

1, 2022) at 3 ¶ 5; see also Press Release, U.S. ATTORNEY'S OFFICE, SOUTHERN DISTRICT

OF NEW YORK, U.S. Attorney Announces Charges Against Co-director of Think Tank


for Acting as an Unregistered Foreign Agent, Trafficking in Arms, Violating U.S.

Sanctions Against Iran, and Making False Statements to Federal Agents (July 10,

2023), https://tinyurl.com/3f9m9dd9 (last visited July 17, 2023).

      39.      Ye Jianming, founder of CEFC China and chairman of the board of

CEFC, is a Chinese national. Majority Staff Report, supra ¶ 30 at 71. Ye Jianming

was, at all times relevant, a “foreign principal.”

      40.      In their supplemental investigative report, the United States Senate

Committee on Homeland Security and Government Affairs and the Committee on

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Finance found, among other things, that Hunter Biden helped Ye Jianming on “staff

visas and some more sensitive things” and “was key in relationship set up, messaging

the good will” around Ye Jianming and CEFC China. Majority Staff Report

Supplemental, S. Comm. on Homeland Sec. and Gov’tal Affs. & S. Comm. on Fin.,

116TH CONG. at 5 (Nov. 18 2020), https://tinyurl.com/48evyc74 (last visited July 17,

2023).

         41.   According to whistleblower testimony obtained by the House Committee

on Ways and Means, a large portion of Hunter Biden’s $8.3 million income came from

Chinese entities, including CEFC China. Press Release, H. Comm. on Ways and

Means, Six Key Takeaways from the Released IRS Whistleblower Transcripts (July

12, 2023), https://tinyurl.com/28v29f7f (last visited July 18, 2023).

         42.   Hunter Biden sent a WhatsApp message to a CEFC China official where

he wrote:

                     I am sitting here with my father and we would like to
                     understand why the commitment made has not been
                     fulfilled. Tell the director that I would like to resolve this
                     now before it gets out of hand, and now means tonight.
                     And, Z, if I get a call or text from anyone involved in this
                     other than you, Zhang, or the chairman [Ye Jianming], I
                     will make certain that between the man sitting next to me
                     and every person he knows and my ability to forever hold
                     a grudge that you will regret not following my direction.

Id.

         43.   Hunter Biden was apparently aware of the burdens of having “to

register as foreign agents,” so he suggested setting up a “separate entity” called

“CEFC America” to avoid registration. Jerry Dunleavy, Hunter Biden Aimed to Avoid


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Violating Foreign Corrupt Practices Act in Pursuit of Chinese Business Deal, WASH.

EXAMINER (Oct. 27, 2020), https://tinyurl.com/mv95ttns (last visited July 17, 2023).

      44.    While these foreign principals paid Hunter Biden and his business

associates significant amounts of money, the Department has only indicted Gal Luft

for violating the Foreign Agents Registration Act by engaging in political activities in

the United States on their behalf. Letter from James Comer, Chairman, H. Comm.

on Oversight and Accountability, to the Hon. Christopher Wray, Director, FBI (July

12, 2023), https://tinyurl.com/ysk7727x (last visited July 17, 2023).

                                   Claim for Relief
                    Violation of the Administrative Procedure Act

      45.    America First Legal repeats paragraphs 1–44.

      46.    The Attorney General has a ministerial and non-discretionary duty to

ensure that Mr. Biden files a “true and complete registration statement” under oath

and on a form prescribed by the Attorney General under 22 U.S.C. § 612(a).

      47.    On March 3, 2023, America First Legal filed a complaint with the

Department alleging that Hunter Biden was required to register as a foreign agent.

See Letter from Gene Hamilton, Vice President and Gen. Couns., AFL, to Matthew

G. Olsen, Assistant Att’y Gen. for Nat’l Sec., U.S. Dep’t of Just. (Mar. 3, 2023),

https://tinyurl.com/3kydjbf5 (attached as Exhibit 2). To date, the Department has

neither adjudicated this complaint nor required Mr. Biden to register as a foreign

agent, thereby unlawfully withholding and unreasonably delaying nondiscretionary

agency action.



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      48.    Also, on July 10, 2023, the Department unsealed an indictment against

Mr. Luft alleging that unlawfully failed to register as a foreign agent of CEFC, CEFC

China, and Ye Jianming. The Department has known for many years that Ye

Jianming and the entities he controlled, including CEFC and CEFC China, paid Mr.

Biden millions more for similar services, but arbitrarily and capriciously refuses to

require him to register as a foreign agent.

      49.    The defendants’ refusal to require Mr. Biden to file a registration

statement has deprived America First Legal of access to information for which it has

a statutory right. This information is directly related both to America First Legal’s

informed participation in the political process with respect to its advocacy of America

First policies aimed at protecting our nation’s sovereignty, economic security, and

Constitution; and to its core public education mission of disclosing relevant

information regarding the operation of the government and the integrity of public

officials. Therefore, America First Legal has suffered an injury in fact.

      50.    Congress directed the defendants first to require Mr. Biden and others

like him, to file registration statements. Then, it directed the defendants to make

those statements public.

      51.    The Administrative Procedure Act was enacted, in part, to ensure

organizations like America First Legal may seek judicial review and a compliance

order when Executive Branch agencies wrongfully fail or refuse to turn over public

information, thereby fortifying Congress’s constitutional oversight function. See

Mathew D. McCubbins & Thomas Schwartz, Congressional Oversight Overlooked:


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Police Patrols Versus Fire Alarms, 28 AM. J. POL. SCI. 168–169 (1984) (describing

Congress as using administrative procedures to delegate oversight responsibilities);

McNollGast, Administrative Procedures as Instrument of Political Control, 3 J. L.

ECON. & ORG. 254 (1987) (same); DANIEL Z. EPSTEIN, THE INVESTIGATIVE STATE:

REGULATORY OVERSIGHT IN THE UNITED STATES (forthcoming Sep. 2023) (providing

empirical evidence that Congress’s capacity to conduct oversight depends upon

regulated parties reporting violations of administrative procedures).

      52.    Accordingly, America First Legal is entitled to relief under 5 U.S.C. §§

706(1) and 706(2)(A), to vindicate its informational rights.

                                  Prayer for Relief

      WHEREFORE, America First Legal respectfully requests that this Court:

     A.      Compel the defendants to require Mr. Biden to register as a foreign

agent in compliance with the Foreign Agent Registration Act under 5 U.S.C. § 706(1).

     B.      Hold unlawful the defendants’ refusal to require Mr. Biden’s

registration as a foreign agent under the Foreign Agent Registration Act under 5

U.S.C. § 706(2)(A).

     C.      Grant it appropriate fees, costs, expenses, and disbursements, including

reasonable attorneys’ fees; and

     D.      Grant it such additional relief as the Court deems just.

                               [signature page follows]




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July 18, 2023                      Respectfully submitted,


                                  /s/ Michael Ding
                                  REED D. RUBINSTEIN (D.C. Bar 400153)
                                  JAMES K. ROGERS (AZ Bar No. 027287)*
                                  MICHAEL DING (D.C. Bar 1027252)
                                  AMERICA FIRST LEGAL FOUNDATION
                                  611 Pennsylvania Ave SE #231
                                  Washington, D.C. 20003
                                  Tel.: (202) 964-3721
                                  E-mail: reed.rubinstein@aflegal.org
                                  E-mail: james.rogers@aflegal.org
                                  E-mail: michael.ding@aflegal.org

                                  Counsel for America First Legal Foundation

                                  *Application for Pro Hac Vice forthcoming




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